        2:12-cv-02247-HAB-DGB # 1               Page 1 of 3
                                                                                                 E-FILED
                                                                Monday, 24 September, 2012 12:19:45 PM
                                                                           Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION




                                                        )
ALISHA JOHNSON,                                         )
                                                        )
                                Plaintiff,              )       Civil Action No.
                                                        )
v.                                                      )
                                                        )
MEDICREDIT, INC.,                                       )       COMPLAINT AND DEMAND
                                                        )       FOR JURY TRIAL
                                Defendant.              )
                                                        )
                                                        )




                                              COMPLAINT

        NOW COMES the Plaintiff Alisha Johnson by her attorney George Bell and Lauren De

La Rosa, a Senior Law Student, and complains against Defendant as follows:


                                             INTRODUCTION

        1.      This is an action for damages brought by an individual consumer for Defendant's

violation ofthe Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.


                                   JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because

it arises under a federal statute, 15 U.S.C. § 1692k (d).


        3.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the conduct giving rise to the claim took place in this judicial district.
        2:12-cv-02247-HAB-DGB # 1                Page 2 of 3



                                                 PARTIES

        4.      Plaintiff Alisha Johnson is a natural person and a citizen of the United States. At

all relevant times, she resided in Rankin, Illinois, and her name was Alisha Dalton (a May 2012

divorce restored her maiden name of Johnson).


        5.      Defendant MediCredit, Inc. is a Missouri corporation registered by the Illinois

Secretary of State to do business in Illinois.


        6.      Defendant is a "debt collector" as defined by the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692a (6).


                                    FACTUAL ALLEGATIONS

        7.      On September 22,2011, Defendant sent a letter to Plaintiff in Rankin, Illinois,

which alleges that Plaintiff owes $420.77 in utility bills and asks for the outstanding balance. A

copy of this letter is attached hereto as Exhibit A.


        8.      Exhibit A was Defendant's initial communication with Plaintiff.


       9.      The debt claimed in Exhibit A was incurred for personal, family, or household

services, as defined in 15 U.S.C. § 1692a (5).


        10.     In Exhibit A, Defendant did not disclose it was attempting to collect a debt and

that any information obtained will be used for that purpose.


                                           CLAIM FOR RELIEF


        11.    Defendant violated the Fair Debt Collection Practices Act in Exhibit A by failing

to disclose that the letter was an attempt to collect a debt and that any information acquired

would be used for that purpose, as required by 15 U.S.C. § 1692e (11).
        2:12-cv-02247-HAB-DGB # 1            Page 3 of 3



       12.     As a result ofthe foregoing violation of the Fair Debt Collection Practice Act,

Defendant is liable to Plaintiff for statutory damages and costs and attorney's fees, pursuant to 15

U.S.C. § 1692k (a)(2)(A) and (a)(3).


WHEREFORE, Plaintiff Alisha Johnson respectfully requests that judgment be entered against

Defendant MediCredit, Inc. for the following:


       A.      Statutory damages of$l,OOO pursuant to 15 U.S.c. § 1692k (a)(2)(A).

       B.      Costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k (a)(3).

       C.      For such other relief as the Court may deem just and proper.



                                                     Respectfully submitted,

                                                     ALISHA JOHNSON, Plaintiff



                                              By:




University of Illinois
College of Law Civil Litigation Clinic
Room 241 Law Building
504 East Pennsylvania A venue
Champaign, Illinois 61820
(217) 244-9494
